     Case 4:23-cv-02847 Document 91 Filed on 09/19/23 in TXSD Page 1 of 2
                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                     September 20, 2023
                      UNITED STATES DISTRICT COURT                    Nathan Ochsner, Clerk

                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION



The Woodlands Pride, Inc.; Abilene
Pride Alliance; Extragrams, LLC; 360
Queen Entertainment LLC; Brigitte
Bandit,

        Plaintiffs,

v.                                          Civil Action No. 4:23-cv-02847

Angela Colmenero, in an official
capacity as Interim Attorney General of
Texas; Montgomery County, Texas;
Brett Ligon, in an official capacity as
District Attorney of Montgomery
County; City of Abilene, Texas; Taylor
County, Texas; James Hicks, in an
official capacity as District Attorney of
Taylor County; Delia Garza, in an
official capacity as County Attorney of
Travis County; Joe D. Gonzales, in an
official capacity as District Attorney of
Bexar County,


        Defendants.




     ORDER GRANTING PLAINTIFFS' AGREED MOTION TO AMEND
                  CASE STYLE AND CAPTION
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      Before the Court is Plaintiffs The Woodlands Pride, Inc., Abilene Pride

Alliance, Extragrams, LLC, 360 Queen Entertainment LLC, and Brigitte Bandit

(collectively, "Plaintiffs") Agreed Motion to Amend Case Style and Caption

("Motion," Dkt. 90). Plaintiffs' Motion is hereby GRANTED.

      The Court ORDERS the case style and caption be amended as follows:
      The Woodlands Pride, Inc.; Abilene Pride Alliance; Extragrams, LLC;
      360 Queen Entertainment LLC; Brigitte Bandit,

      Plaintiffe,

      v.
     Warren Kenneth Paxton, in an official capacity as Attorney General of
     Texas; Montgomery County, Texas; Brett Ligon, in an official capacity
     as District Attorney of Montgomery County; City of Abilene, Texas;
     Taylor County, Texas; James Hicks, in an official capacity as District
     Attorney of Taylor County; Delia Garza, in an official capacity as
     County Attorney of Travis County; Joe D. Gonzales, in an official
     capacity as District Attorney of Bexar County,

     Defendants.

                               Signed on this the _J_f_ day of September, 2023.



                                            Judge David Hittner
